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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       CRIMINAL NO. 25-MJ-61
               v.                            :
                                             :
                                             :
 PRASAN NEPAL                                :
                                             :
                                             :
                     Defendant.              :
                                             :


                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully moves the Court for the entry of a protective order

governing the production of discovery by the parties in the above-captioned case. The United

States and counsel for the defendant has reached an agreement as to the proposed protective order.

Therefore, the United States is authorized to represent to the Court that the defendant does not

oppose this motion or the entry of the attached protective order.



                                             Respectfully submitted,

                                      By:    /s/ Alexandra Hughes
                                             Alexandra S. Hughes
                                             D.C. Bar No. 1531596
                                             Karen Shinskie
                                             D.C. Bar No. 1023004
                                             John Korba
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